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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS,
                           HOUSTON DIVISION

DEXTER DARNELL JOHNSON,                §
    Petitioner,                        §
                                       §
             v.                        §       CIVIL ACTION NO. 4:11-cv-02466
                                       §
LORIE DAVIS, Director,                 §       DEATH PENALTY CASE
Texas Department of Criminal           §
Justice, Correctional Institutions     §
Division,                              §
       Respondent.                     §

              OPPOSED MOTION FOR A STAY OF EXECUTION

                       Execution date set for August 15, 2019

TO THE HONORABLE JUDGE OF SAID COURT:

      COMES NOW, Petitioner, DEXTER DARNELL JOHNSON, by and through

undersigned counsel, the Office of the Federal Public Defender for the Northern

District of Texas (“FPD”), and moves for a stay of execution. Mr. Johnson requests

that this Court grant him a stay of execution pending this Court’s consideration and

disposition of his Motion for Relief from Judgment Pursuant to Federal Rule of Civil

Procedure 60(b), filed simultaneously with the instant motion. A stay is warranted

for the reasons set forth below and those appearing in the 60(b) Motion. Mr. Johnson

incorporates by this specific reference all facts and arguments from the 60(b) Motion.

      In this Circuit, a motion for a stay of execution in this context is analyzed

according to the following four factors, known as the Nken factors:




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      (1) whether the applicant has made a strong showing that he is likely to

          succeed on the merits;

      (2) whether the applicant will be irreparably injured absent a stay;

      (3) whether issuance of the stay will substantially injure the other parties

          interested in the proceeding; and

      (4) where the public interest lies.

Nken v. Holder, 556 U.S. 418, 434 (2009) (internal citations and quotations omitted);

see also In re Campbell, 750 F.3d 523, 534 (5th Cir. 2014) (applying Nken factors to

motion for stay of execution). Mr. Johnson prevails under the Nken factors.

      First, Mr. Johnson’s timely filed Rule 60(b) motion sets forth a strong showing

that he is likely to succeed on the merits. He has identified a defect in the integrity

of his federal habeas proceedings, specifically that his court-appointed attorney,

Patrick McCann, served as both his state and federal habeas counsel. Under binding

Fifth Circuit precedent, this was a defect in the integrity of the proceeding; such an

assertion therefore properly supports a motion for relief from judgment pursuant to

Rule 60(b)(6). Clark v. Davis, 850 F.3d 770, 779-80 (5th Cir. 2017).

      Mr. Johnson’s case also displays numerous extraordinary circumstances

beyond the unmistakable conflict of interest that constitutes a defect in the integrity

of the proceedings. Shortly after the decision in Trevino v. Thaler, 569 U.S. 413

(2013), Mr. McCann filed a motion in federal court in another case in which he served

as state habeas counsel, stating that “the undersigned counsel believes it is his ethical

duty to seek appointment of separate counsel” and that he believed that “he cannot




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ethically go forward on this matter” as counsel in federal court in light of Martinez v.

Ryan, 566 U.S. 1 (2012) and Trevino. Ex. 1 at 1 (Martinez v. Stephens, No. 4:13-cv-

01994 (S.D. Tex. Jul. 9, 2013)) (emphasis in original). Yet, around the same time in

Mr. Johnson’s case, Mr. McCann was attempting to amend in claims that he had

defaulted in state court and not raised in the federal petition by invoking Martinez

and Trevino to excuse the default of those claims—all the while defending the quality

of his state habeas representation. To the best of the FPD’s knowledge, Mr. McCann

is the only attorney that identified a claim that he defaulted in state habeas,

nominally argued that the claim should be considered under Martinez and Trevino,

and then provided the Court with numerous excuses for his failure to raise the claim

in state habeas in direct contravention of his client’s interests.

      Violating numerous ethical requirements, Mr. McCann took these actions—

and others chronicled within the motion—without appropriately consulting with Mr.

Johnson regarding the conflict of interest. Later, once Mr. Johnson became aware of

the conflict and requested conflict-free counsel, Mr. McCann opposed that request.

DE 66. Mr. Johnson’s Rule 60(b) Motion outlines other examples of extraordinary

circumstances in his case and also explains why under the particularized facts and

circumstances of his case it was timely filed.

      Second, Mr. Johnson will be irreparably injured absent a stay. Texas is

scheduled to execute Mr. Johnson by lethal injection after 6 p.m. on August 15, 2019.

Without a stay, Mr. Johnson will die. That is the very definition of “irreparable

injury.”




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      The third and fourth factors also favor a stay. See Nken, 566 U.S. at 435. No

third parties will be injured by a stay. The State of Texas, as the other party to the

proceeding, shares Mr. Johnson’s interest in maintaining constitutional integrity in

capital proceedings. Finally, the public has a strong interest in ensuring fair criminal

proceedings by preventing executions that violate constitutional rights, thereby

preserving the integrity and legitimacy of federal decision-making. Thus, the public

interest lies in granting Mr. Johnson’s motion to stay his execution.

      Mr. Johnson asks that the Court grant this motion, stay his execution, and

grant any other relief that the Court may find just.



Respectfully submitted,

                                        JASON D. HAWKINS
                                        Federal Public Defender

                                        /s/ Jeremy Schepers
                                        Jeremy Schepers (24084578)
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                          CERTIFICATE OF CONFERENCE

      I, Jeremy Schepers, hereby certify that on the 24th day of June, 2019, I
conferenced this motion with Ellen Stewart-Klein of the Texas Attorney General’s
Office. She informed me that the Director opposes this motion.

                                             /s/ Jeremy Schepers
                                             ____________________________
                                             Jeremy Schepers




                             CERTIFICATE OF SERVICE

      I, Jeremy Schepers, hereby certify that on the 24th day of June, 2019, a copy
of the foregoing motion was delivered via ECF to the Texas Attorney General’s Office,
attention Ellen Stewart-Klein.

                                             /s/ Jeremy Schepers
                                             ____________________________
                                             Jeremy Schepers




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